
Kilty, C. J.,
delivered the opinion of the Court. 1. The corporation have by law a right to pave the streets, and of course to raise or lower particular parts of any street, if such raising or lowering should be necessary for performing the work in a reasonable and proper manner ; and the individuals who may be injured by it, have no right of action for such injury, unless expressly given by Act of Assembly. But, if a wanton and unnecessary injury is done, an action may be sustained. 2. The corporation, if liable at all, are answerable for the conduct of their commissioner if he was acting under their authority, and was engaged in the work in which they employed him, when the injury, if any, was done, although he may have acted without their orders, or contrary to them. But if he committed an injury unconnected with the business in which he was employed, his being in the employ of the corporation will not make them liable. The jury having found a verdict for one cent damages, a question was made whether that would carry the costs in an action upon the case for injury done by raising the level of the street. The authorities cited were, the Virginia Rev. Code, p. 116, sec. 17, and the English statutes of 22 and 23 Car. 2, and 8 and 9 W. and M.
The CouRT allowed full costs.
